      Case 1:20-cv-00415-RT-NONE Document 1 Filed 09/30/20 Page 1 of 6                          PageID #: 1




                                 IN THE UNITED STATES DISTRICT COURT
                                                                                                 FILED IN THE
 ORIGINAL                      FOR THE                  DISTRICT OF
                                                            DIVISION                      UNITED STATES DISTRICT COURT
                                                                                             DISTRICT OF HAWAII
                                    (Write the District and Division, ifany, of
                                    the court in which the complaint is filed.)                  SEP 30 2020
                                                                                          at Z o'clock and^Q min.-P M
                                                                                           MICHELLE RYNNE,CLERK ^
                                                                 Complaint for a Civil Case Alleging * /Ff*        "
                                                                 Negligence
                                                                 (28 U.S.C. § 1332; Diversity of
         (Write the full name ofeach plaintiff who is filing     Citizenship)
         this complaint. If the names ofall the plaintiffs
         cannot fit in the space above, please write "see
         attached" in the space and attach an additional         Case No.
                                                                          C V20 00A15 RT
         page with the full list ofnames.)
                                                                 (to be filled in by the Clerk's Office)

            -against-                                            Jury Trial:      □ Yes         No
                                                                                  (check one)




         (Write the full name ofeach defendant who is
         being sued. Ifthe names ofall the defendants
         cannot fit in the space above, please write "see
         attached" in the space and attach an additional
         page with the full list ofnames.)




Received By Mail
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 I.    The Parties to This Complaint

             The Plamtiff(s)

             Provide the information below for each plaintiff named in the complaint. Attach
             additional pages if needed.

                    Name                       \      <A a.
                    Street Address            Wle       V4Av fNCtv     SV
                    City and County
                    State and Zip Code
                    Telephone Number
                    E-mail Address


       B.    The Defendant(s)

             Provide the information below for each defendant named in the complaint,
             whether the defendant is an individual, a government agency, an organization, or
             a corporation. For an individual defendant, include the person'sjob or title (if
             known). Attach additional pages if needed.

             Defendant No. 1

                    Name

                    Job or Title
                    (if known)
                    Street Address

                    City and County           <be.rv\ftt\\^\\\ C
                    State and Zip Code
                    Telephone Number
                    E-mail Address
                    (if known)

             Defendant No. 2

                    Name                       U^a\<V^fvrV
                    Job or Title               LoecA
                    (if known)
                    Street Address           \b\ 9o^h\<i,u\o.
                    City and County           Y^^6.Wu\u,>, I fV\ro\'\
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                      State and Zip Code
                                                             +
                      Telephone Number
                      E-mail Address
                      (if known)

               Defendant No. 3

                      Name

                      Job or Title
                      (if known)
                      Street Address

                      City and County
                      State and Zip Code
                      Telephone Number
                      E-mail Address
                      (if known)

              Defendant No. 4

                      Name

                      Job or Title
                      (if known)
                      Street Address

                      City and County
                      State and Zip Code
                      Telephone Number
                      E-mail Address
                      (if known)

 II.   Basis for Jurisdiction

       Federal courts are courts of limited jurisdiction (limited power). Under 28 U.S.C.
       § 1332, federal courts may hear cases in which a citizen of one State sues a citizen of
       another State or nation and the amount at stake is more than $75,000. In that kind of
       case, called a diversity of citizenship case, no defendant may be a citizen of the same
       State as any plaintiff. Explain how thesejurisdictional requirements have been met.
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       A.    The Plaintiff(s)

             1.     If the plaintiff is an individual

                    The plaintiff, (name)       \ e\C ca cx.            L is a citizen of the State
                    of(name)                                   .

             2.     If the plaintiff is a corporation

                    The plaintiff, (name)                                , is incorporated under
                    the laws of the State of(name)                                 , and has its
                    principal place of business in the State of(name)


             (Ifmore than one plaintiffis named in the complaint, attach an additionalpage
             providing the same information for each additional plaintiff.)

       B.    The Defendant(s)

             1.     If the defendant is an individual

                    The defendant, (name)                                 , is a citizen of the
                    State of(name)                                 . Or is a citizen of (foreign
                    nation)                               .

             2.     If the defendant is a corporation

                    The defendant, (name).                            , is incorporated under
                    the laws of the State of (name)                            , and has its
                    principal place of business in the State of(name)
                                                  . Or is incorporated under the laws of
                    (foreign nation)                              ., and has its principal place
                    of business in (name)                                .

             (Ifmore than one defendantis named in the complaint, attach an additional page
             providing the same information for each additional defendant.)

       C.    The Amount in Controversy

             The amount in controversy—the amount the plaintiff claims the defendant owes
             or the amount at stake—is more than $75,000, not counting interest and costs of
             court, because (explain)-.
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 III.   Statement of Claim

        Write a short and plain statement of the claim. Do not make legal arguments. State as
        briefly as possible the facts showing that each plaintiff is entitled to the damages or other
        relief sought. State how each defendant was involved and what each defendant did that
        caused the plaintiff harm or violated the plaintiff's rights, including the dates and places
        of that involvement or conduct. If more than one claim is asserted, number each claim
        and write a short and plain statement of each claim in a separate paragraph. Attach
        additional pages if needed.

        On (date) \Oj^\                   at (place) |/JClVV\CXfT iVv fWntv
                                                                          |Uawftt t ,
        the defendant(s): (1) performed acts that a person of ordinary prudence in the same or
        similar circumstances would not have done; or (2) failed to perform acts that a person of
        ordinary prudence would have done under the same or similar circumstances because
        (describe the acts or failures to act and why they were negligent)

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          acexx L.>^<                         CiC fYVirXKoA                      v \fc\r\VV\Cb\A^
                  u>-ec-e fngtf\€ CJ^^XKSt.'         Mrvt                         IT             \V\
                        Afc C\.

        The acts or omissions caused or contributed to the cause of the plaintiff's injuries by
        (explain)

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         "X W dOcWve.                     \C<Vv^fNVa\V        , v\<\cilVJ)^ Vo U)«cVv CUrA \r^             '
 IV.    ReUef

        State briefly cind precisely what damages or other relief the plaintiff asks the court to
        order. Do not make legal arguments. Include any basis for claiming that the wrongs
        alleged are continuing at the present time. Include the amounts of any actual damages
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       claimed for the acts alleged and the basis for these amounts. Include any punitive or
       exemplary damages claimed, the amounts, and the reasons you claim you are entitled to
       actual or punitive money damages.


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 V.

       Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my
       knowledge, information, and belief that this complaint: (1) is not being presented for an
       improper purpose, such as to harass, cause unnecessary delay, or needlessly increase the
       cost of litigation: (2) is supported by existing law or by a nonfrivolous argument for
       extending, modifying, or reversing existing law; (3) the factual contentions have
       evidentiary support or, if specifically so identified, will likely have evidentiary support
       after a reasonable opportunity for further investigation or discovery; and (4) the
       complaint otherwise complies with the requirements of Rule 11.

       A.         For Parties Without an Attorney

                  I agree to provide the Clerk's Office with any changes to my address where case-
                  related papers may be served. I understand that my failure to keep a current
                  address on file with the Clerk's Office may result in the dismissal of my case.

                  Date of signing:                       36. 203P
                  Signature of Plaintiff
                  Printed Name of Plaintiff                       "TrlUie^


       B.         For Attorneys

                 Date of signing:                             , 20_

                 Signature of Attorney
                 Printed Name of Attorney
                 Bar Number

                 Name of Law Firm
                 Address
